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                                    2675



                     UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF LOUISIANA, MONROE DIVISION


      PHILLIP CALLAIS, LLOYD PRICE,
      BRUCE ODELL, ELIZABETH ERSOFF,
      ALBERT CAISSIE, DANIEL WEIR, JOYCE
      LACOUR, CANDY CARROLL PEAVY,
      TANYA WHITNEY, MIKE JOHNSON,
      GROVER JOSEPH REES, ROLFE                          Civil Action No.3:24-cv-00122
      MCCOLLISTER,
                      Plaintiffs,                        Judge David C. Joseph

                     v.                                  Circuit Judge Carl E. Stewart

      NANCY LANDRY, in her official capacity             Judge Robert R. Summerhays
      as Secretary of State for Louisiana.

                            Defendant.




                                      [PROPOSED] ORDER

          The Court having considered the Robinson Intervenors’ Motion for leave to seek a

   continuance within 14 days of the trial and Motion for Continuance or, in the Alternative, to

   Unconsolidate Preliminary Hearing from the Merits Trial, it is hereby ORDERED that the

   Motion is GRANTED.

          The trial in the above-captioned matter, scheduled to commence on April 8, 2024, is

   hereby continued. Trial shall begin on April 29, 2024 and conclude on May 2, 2024:



   IT IS SO ORDERED. This ____ day of __________ 2024.
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                                             ________________________________
                                             Judge Carl E. Stewart
                                             United States Circuit Judge


                                             ________________________________
                                             Judge Robert R. Summerhays
                                             United States District Judge


                                             ________________________________
                                             Judge David C. Joseph
                                             United States District Judge
